     Case 19-23410-SLM         Doc 74    Filed 03/12/20 Entered 03/12/20 15:48:45                Desc Main
                                         Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD                                                      Order Filed on March 12, 2020
SUITE 330                                                                by Clerk,
                                                                         U.S. Bankruptcy Court
FAIRFIELD, NJ 07004-1550                                                 District of New Jersey
973-227-2840

                                                           Case No.: 19-23410 SLM
IN RE:
  ANTHONY P BIASI                                          Hearing Date: 3/11/2020

                                                           Judge: STACEY L. MEISEL


                                                           Debtor is Entitled To Discharge

                                        ORDER CONFIRMING PLAN

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




     DATED: March 12, 2020
        Case 19-23410-SLM           Doc 74     Filed 03/12/20 Entered 03/12/20 15:48:45                 Desc Main
 Debtor(s): ANTHONY P BIASI                    Document Page 2 of 2

 Case No.: 19-23410 SLM
 Caption of Order:     ORDER CONFIRMING PLAN

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 8/29/2019, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 8/1/2019, the Debtor shall pay the Standing Trustee
        the sum of $1047.00 paid into date over 8 month(s), and then
        the sum of $522.00 for a period of 52 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586; and it is further
    ORDERED, that notwithstanding the preceding paragraph, in no event shall the unsecured creditors receive less
    than 100% of their timely filed claims; and it is further
    ORDERED, that if the Court’s Docket does not reflect that a Pre-Confirmation Certification of Compliance has
    been filed by the Debtor(s) by 3/25/2020, the instant case will be dismissed without further notice or hearing to
    debtor(s) and debtor’s attorney; and it is further
    ORDERED, that Debtor must make a lump sum payment by 7/15/2020 or the case will be dismissed upon
    certification of the Trustee with 14 days notice to debtor(s) and debtor’s attorney; and it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor, Debtor's attorney and any other party
     filing a Notice of Appearance.
